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                                                                                    8:35 am, Jan 14, 2021
                                                                                U.S. DISTRICT COURT
                         U N I T E D S T A T E S D I S T R I C T C O U R T EASTERN DISTRICT OF NEW YORK
                         EASTERN DISTRICT OF NEW YORK                           LONG ISLAND OFFICE


        ------------------------------X                   Docket#
        CACCAVALE, et al., ,          :                   20-cv-00974-GRB-AKT
                        Plaintiffs,   :
                                      :
             - versus -               :                   U.S. Courthouse
                                      :                   Central Islip, New York
                                      :
        HEWLETT-PACKARD COMPANY,      :
                  et al.,             :                   January 12, 2021
                        Defendants    :                   2:22 PM
        ------------------------------X

                  TRANSCRIPT OF CIVIL CAUSE FOR PROCEEDINGS
                      BEFORE THE HONORABLE GARY R. BROWN
                         UNITED STATES DISTRICT JUDGE
        A   P   P   E    A           R      A      N      C      E      S:
        (Telephonically)



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